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               UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF FLORIDA
                   TALLAHASSEE DIVISION

JANE DOE, et al.,

      Plaintiffs,

v.                                      Case No. 4:23-cv-00114-RH-MAF

JOSEPH A. LADAPO, et al.,

     Defendants.
______________________________/

     NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL

     PLEASE TAKE NOTICE that Emily J. Witthoeft hereby enters

her appearance as additional counsel in the above-styled matter on

behalf of Defendants.


Dated: December 8, 2023           Respectfully submitted,

                                   ASHLEY MOODY
                                   ATTORNEY GENERAL

                                   /s/ Emily J. Witthoeft
                                   Emily J. Witthoeft
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    Case 4:23-cv-00114-RH-MAF Document 199 Filed 12/08/23 Page 2 of 2




                    CERTIFICATE OF SERVICE

     I hereby certify that on December 8, 2023, a true and correct copy

of the foregoing was filed with the Court’s CM/ECF system, which will

provide service to all parties who have registered with CM/ECF and filed

an appearance in this action.



                                 /s/ Emily J. Witthoeft
                                 Emily J. Witthoeft




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